            Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 1 of 15



                        THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT


ANDREW MASON, Individually and on                 Case No.:
Behalf of All Others Similarly Situated,

                     Plaintiff,

       v.
                                                  JURY TRIAL DEMAND
YALE UNIVERSITY,

                    Defendant.




                                           1
        Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 2 of 15




                                CLASS ACTION COMPLAINT

       Plaintiff Andrew Mason (“Plaintiff” or “Mason”), individually and on behalf of a class

of persons similarly situated (the “Class Members”), brings this class action against

Defendant Yale University (“Defendant” or “Yale”) seeking equitable relief and damages as

set forth below.

                                 PRELIMINARY STATEMENT

       1.     Between April 2008 and January 2009, unauthorized persons gained access to a

database containing personal information of Yale alumni, faculty, and staff that was stored on

a Yale server (the “Breach”).

       2.     The Breach affected thousands of individuals associated with Yale located

across the United States and internationally (the “Yale Victims”).

       3.     Personal information acquired by the unauthorized persons included individual

names and Social Security numbers, as well as, in most cases, dates of birth and e-mail

addresses. In some cases, physical addresses were also acquired.

       4.     On approximately June 16, 2018, Yale discovered the Breach.

       5.     More than a month later -- on or about July 26, 2018 and July 27, 2018 –Yale

began notifying Yale Victims of the Breach by sending notices via U.S. Mail (the

“Notification”).

       6.     Yale offered twelve months of free identity theft services to persons receiving

the Notification.

       7.     Plaintiff provided personal identification information (“PII”) to Yale in or about

June 2005 as part of his registration to attend classes and reside on the Yale campus.




                                               2
        Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 3 of 15



        8.    On or about July 30, 2018, Plaintiff received the Notification from Yale that his

PII was compromised as a result of the Breach.

        9.    As a result, Plaintiff m u s t n o w c l o s e l y monitor his accounts to safeguard

against fraud and theft, and t o deal with potential issues flowing from the Breach.

        10.   Plaintiff brings this action on behalf of himself and other similarly situated

persons who had their personal information disseminated as a result of Defendant’s failure to

protect their PII affected by the Breach.

                               JURISDICTION AND VENUE

        11.   The jurisdiction of this Court is founded upon ( i ) 28 U.S.C. § 1332(d) (the

Class Action Fairness Act) in that this is a putative class action with more than 100 class

members, more than $5 million in controversy, and the requisite diversity of citizenship; and

(ii) 28 U.S.C. § 1367 supplemental jurisdiction over state law claims.

        12.   Venue is appropriate pursuant to 28 U.S.C. § 1391, as a substantial portion of

the events and conduct giving rise to the violations alleged in this Complaint occurred in this

District.

        13.   This Court has personal jurisdiction over Defendant because it has

continuous and systematic contacts with this forum, it maintains its primary place of business

in this District, and the events giving rise to this matter arose out of those contacts.

                                            PARTIES

        14.   Plaintiff is a citizen of the United States and is a resident of the Commonwealth

of Virginia. Mason attended a summer program at Yale University during the summer of

2005.

        15.   Defendant is a private research university located in New Haven, Connecticut.




                                                 3
            Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 4 of 15




                                        STATEMENT OF FACTS

           16.    On or about June 16, 2018, Yale discovered during a security review of its

    servers that, for some period of time between April 2008 and January 2009, unauthorized

    persons gained access to electronic records containing PII stored on its database.

           17.    The Breach included disclosure of names and Social Security numbers. It also

    included dates of birth (in nearly all cases), e-mail addresses (in most cases), and physical

    addresses (in some cases).

           18.    Defendant improperly retained personal information, which was subsequently

    transferred to unauthorized persons during the Breach, as evidenced by its statements that the

    PII compromised in the Breach was deleted from its servers in September 2011 because it was

    unnecessary personal data. See https://cybersecurity.yale.edu/data-intrusion-response.

           19.    It is believed that approximately 119,000 alumni, faculty, and staff were affected

    by the Breach.1

           20.    The identity of the perpetrators of the Breach is unknown and, according to an

    article published in the Yale Daily News on August 2, 2018, Yale is not conducting an

    investigation into the incident, stating that it would not be possible to identify the culprit a

    decade after the event occurred.2

           21.    News of the Breach was disclosed to identified Yale Victims via letters mailed

    on July 26 and July 27, 2018, more than a month after the breach was discovered and

    approximately a decade after the Breach occurred.

1
  https://yaledailynews.com/blog/2018/08/02/a-decade-later-yale-discovers-major-data-breach/ (last accessed
September 18, 2018).
2
  Id.




                                                        4
               Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 5 of 15



            22.       Defendant has known about its data privacy issues since at least 2011 when it

    discovered that 43,000 Yale community members’ Social Security numbers had been

    accessible online for almost a year3 and it was again made aware of its data security issues

    when it was notified in 2012 by the hacker group, NullCrew, that it obtained personal

    information about Yale students and staff members by exploiting security faults in Yale’s

    databases.4

            23.       Defendant failed to adequately protect and secure its stored PII and, even after

    being made aware of its data security issues in 2011 and 2012, failed to perform a data security

    audit comprehensive enough to identify the Breach until June of this year.

            24.       Defendant’s substandard security practices were the direct and proximate cause

    of the Breach, which compromised the PII of over 100,000 Yale Victims and, as a direct and

    proximate result of Yale’s acts and omissions, Plaintiff and the Class Members have been

    injured.

            25.       Plaintiff and the Class Members have been placed at significant risk of harm

    from, and will likely incur additional damages in order to prevent and mitigate, credit fraud or

    identity theft.

            26.       In addition to fraudulent charges and damage to their credit, Plaintiff and the

    Class Members spent or will spend substantial time and expense (a) monitoring their accounts

    to identify fraudulent or suspicious charges; (b) cancelling and reissuing cards; (c) purchasing

    credit monitoring and identity theft prevention services; (d) attempting to withdraw funds

    linked to compromised, frozen accounts; (e) removing withdrawal and purchase limits on

    compromised accounts; (f) communicating with financial institutions to dispute fraudulent

3
 https://yaledailynews.com/blog/2011/09/08/no-evidence-that-yale-ssns-searched/ (last accessed Sept. 18, 2018).
4
 https://yaledailynews.com/blog/2018/08/02/a-decade-later-yale-discovers-major-data-breach/ (last accessed
September 18, 2018).




                                                        5
        Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 6 of 15



charges; (g) re-setting automatic billing instructions; (h) freezing and unfreezing credit bureau

account information; (i) cancelling and re-setting automatic payments as necessary; and (j)

paying late fees and declined payment penalties as a result of failed automatic payments.

       27.       Additionally, Plaintiff and the Class Members have suffered or are at increased

risk of suffering from, inter alia, the loss of opportunity to control how their PII is used, the

diminution in value and/or use of their PII entrusted to Defendant, and loss of privacy.

                                   CLASS ALLEGATIONS

       28.       Plaintiff brings this Complaint on behalf of himself and the following Class

(the “Class”):

      All persons whose personal information was compromised as a result of the
      data breach disclosed by Yale on July 26-27, 2018.

       29.       The Class and definition specifically exclude: (a) any persons or other entity

currently related to or affiliated with Defendant; (b) any Judge presiding over this action and

members of his or her family; and (c) all persons who properly execute and file a timely

request for exclusion from the Class.

       30.       Class-wide adjudication of Plaintiff’s claims is appropriate because Plaintiff

can prove the elements of his claims on a C lass-wide basis using the same evidence as

would be used to prove those elements in individual actions asserting the same claims.

       31.       Numerosity: The Class Members, estimated at 119,000, are so numerous that

joinder of individual claims is impracticable. The Class Members can be readily identified

through Defendant’s records.

       32.       Commonality: There are significant questions of fact and law common to

the Class Members. These issues include, but are not limited to:

                 a.     Whether     Defendant       failed   to   establish   appropriate




                                                6
         Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 7 of 15



                       administrative, technical, and physical safeguards to ensure the

                       security and confidentiality of records;

               b.      Whether the security provided by Defendant was satisfactory

                       to protect PII as compared to industry standards;

               c.      Whether Defendant misrepresented or failed to provide

                       adequate information to its community members, including

                       students, alumni, and staff, regarding the type of security

                       practices used;

               d.      Whether Defendant’s conduct was intentional, willful, or

                       negligent;

               e.      Whether Defendant violated the C o n n e c t i c u t U n f a i r T r a d e

                       P r a c t i c e s A c t , C T Ge n . S t a t . § 4 2 - 11 0 ;

               f.      Whether the Class Members suffered, and continue to suffer,

                       damages as a result of Defendant’s conduct or omissions; and

               g.      Whether Class Members are entitled to injunctive, declarative,

                       and monetary relief as a result of Defendant’s conduct.

        33.    Typicality: Plaintiff’s claims are typical of the claims of the Class Members.

Plaintiff and all Class Members have been adversely affected and damaged in that Defendant

failed to adequately protect their PII, to the detriment of Plaintiff and the Class Members.

        34.    Adequacy of Representation: The proposed Class representative will fairly and

adequately represent the Class because he has the Class Members’ best interests in mind, his

individual claims are co-extensive with those of the Class Members, and he is represented by

qualified counsel experienced in class action litigation of this nature.




                                                      7
         Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 8 of 15



        35.    Superiority: A class action is superior to other available methods for the fair

and efficient adjudication of these claims because individual joinder of the claims of all Class

Members is impracticable.        Many Class Members are without the financial resources

necessary to pursue this matter. Even if some Class Members could afford to litigate their

claims separately, such a result would be unduly burdensome to the courts in which the

individualized cases would proceed. Individual litigation increases the time and expense of

resolving a common dispute concerning Defendant’s actions toward an entire group of

individuals. Class action procedures allow for far fewer management difficulties in matters of

this type and provide the unique benefits of unitary adjudication, economies of scale, and

comprehensive supervision over the entire controversy by a single judge in a single court.

        36.    The Class may be certified pursuant to Rule 23(b)(2) of the Federal Rules

of Civil Procedure because Defendant has acted on grounds generally applicable to the Class,

thereby making final injunctive relief and corresponding declaratory relief appropriate with

respect to the claims raised by the Class.

        37.    The Class may also be certified pursuant to Rule 23(b)(3) of the Federal Rules

of Civil Procedure because questions of law and fact common to the Class Members

will predominate over questions affecting individual members, and a class action is superior to

other methods for fairly and efficiently adjudicating the controversy and causes of action

described in this Complaint.

                                             COUNT I

                                         NEGLIGENCE

        38.    Plaintiff repeats and reaffirms, as if fully set forth herein, the allegations of the

preceding paragraphs.




                                                8
           Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 9 of 15



           39.   Defendant owed a duty of care to Plaintiff and the Class Members to use

reasonable means to secure and safeguard the entrusted PII, to prevent its disclosure, to guard it

from theft, and to detect any attempted or actual breach of its systems.

           40.   Defendant knew about its duty to protect the entrusted PII, as evidenced by its

statements in the Notification that it “considers the protection of personal data of the utmost

importance” and that it “continues to improve our electronic security and eliminate the

unnecessary storage of such information.”

           41.   Defendant breached the aforementioned duty by failing to design, adopt,

implement, enforce, control, manage, monitor, update, and audit its processes, controls,

policies, procedures, and protocols for complying with the applicable laws and safeguarding

and protecting Plaintiff’s and the Class Members’ PII within its possession, custody, and

control.

           42.   As a direct and proximate cause of Defendant’s failures with regards to its

security practices, Defendant’s system was hacked, causing Plaintiff’s and the Class

Members’ PII to be disseminated to unauthorized individuals.

           43.   Defendant admitted that Plaintiff’s and the Class Members’ PII was wrongfully

disclosed as a result of the Breach.

           44.   The Breach caused direct and substantial damages to Plaintiff and the Class

Members, as well as the possibility of future harm and the greatly enhanced risk of credit fraud

or identity theft through the dissemination and/or use of their PII.

           45.   The Breach was a foreseeable result of Defendant’s breach of its duty.

           46.   Defendant also has a duty to timely disclose theft of the PII so that affected

persons can be vigilant in attempting to determine if any of their accounts or assets have been




                                                9
         Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 10 of 15



disseminated through identity theft.

         47.   Through their failure to provide notification of the Breach until a decade after it

occurred, Defendant negligently prevented the Plaintiff and the Class Members from taking

meaningful, proactive steps to prevent and investigate possible identity theft.

         48.   Defendant’s conduct was negligent and departed from reasonable standards of

care for all the reasons stated above including, but not limited to: (i) failing to adequately

protect the PII; ( i i ) failing to conduct regular security audits; (iii) failing to provide

adequate and appropriate supervision of persons having access to, managing and/or maintaining

the PII; and ( i v ) failing to provide timely and sufficient notice to Plaintiff and the Class

Members that their sensitive PII had been compromised.

         49.   Neither Plaintiff nor the Class Members contributed to the Breach or

subsequent misuse of their PII as described in this Complaint.

         50.   As a direct and proximate result of Defendant’s actions and inactions, Plaintiff

and the Class Members have been put at an increased risk of credit fraud or identity theft and

Defendant has an obligation to mitigate damages through credit and identity monitoring

services for a reasonable period of time, substantially in excess of one year.

         51.   Defendant is also liable to Plaintiff and the Class Members to the extent that

they have directly sustained damages as a result of identity theft or other unauthorized use of

their PII.

                                           COUNT II

                  RECKLESS, WANTON, AND WILLFUL MISCONDUCT

         52.   Plaintiff repeats and reaffirms, as if fully set forth herein, the allegations of the

preceding paragraphs.




                                                10
        Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 11 of 15



         53.    Defendant was aware of its data security issues in 2011, when it discovered that

43,000 Yale community members’ Social Security numbers in its care and protection had been

accessible online for almost a year, and again in 2012 when it was notified by the hacker group,

NullCrew, that it obtained personal information about Yale students and staff members by

exploiting security faults in Yale’s databases.

         54.    Defendant failed to adequately protect and secure its stored PII by failing to

perform a data security audit comprehensive enough to identify the Breach until June of this

year, even after being made aware of its data security issues in 2011 and 2012.

         55.    Defendant’s failure to ensure its stored PII was adequately protected and

perform a comprehensive audit to identify prior data breaches after it knew of its data security

issues shows a reckless, wanton, and willful disregard for Plaintiff’s and Class Members’

privacy and protection and the risks associated with failing to secure its stored PII.

         56.    Willfully and intentionally ignoring the possibility of a prior data breach and

willfully and intentionally failing to take action to identify and mitigate any prior data breach

made ongoing damage to Plaintiff and Class Members as a result of the Breach likely and

foreseeable by Yale.

         57.    Defendant knew or, at a minimum, turned a blind eye to, the likely and

foreseeable effects of ignoring the possibility of a prior data breach.

         58.    Defendant’s actions constitute intentional conduct designed to injure Plaintiff

and Class Members for which there is no just cause or excuse, and these actions were the actual

and proximate cause of ongoing damage to Plaintiff and Class Members beginning in 2011 or,

at the latest, 2012.




                                                  11
        Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 12 of 15



                                          COUNT III

                                UNFAIR TRADE PRACTICES

                                  CT GEN. STAT. § 42-110b

         59.   Plaintiff repeats and reaffirms, as if fully set forth herein, the allegations of the

preceding paragraphs.

         60.   The Connecticut Unfair Trade Practices Act (“CUTPA”), CT Gen. Stat. § 42-

110b, prohibits the use of unfair methods of competition and unfair or deceptive acts or

practices in the conduct of trade or commerce, as guided by the Federal Trade Commission

(“FTC”) interpretations.

         61.   Under the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45,

Defendant has a duty to ensure reasonable data security practices are in place, including proper

monitoring of its systems, providing data security training to its employees, and deleting data

in order to safeguard the PII of Plaintiff and Class Members. Failure to do so constitutes unfair

practices.

         62.   The FTC has published business guidance brochures and consent orders from

previous FTC enforcement actions which provide fair notice of and guide reasonableness in

data security situations, and has pursued enforcement actions against businesses which, as a

result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class Members.

Such FTC guidance constitutes a body of experience and informed judgment to which courts

and organizations such as Defendant may properly resort for guidance.

         63.   Plaintiff and the Class Members are within the class of persons the CUTPA and

FTCA were intended to protect.




                                               12
        Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 13 of 15



           64.    The harm that occurred as a result of the Breach is the type of harm that

CUTPA and the FTCA were intended to guard against.

           65.    Defendant solicited, gathered, and stored PII of Plaintiff and the Class

Members in the operation of its educational and research services, which activities constitute

Defendant’s primary trade or commerce.

           66.    Defendant violated the FTCA and, thereby, CUTPA, by failing to use

reasonable measures to protect Plaintiff’s and Class Members’ PII, failing to delete

unnecessary data, and failing to comply with applicable industry standards.

           67.    Defendant’s actions and omissions have caused and continue to cause

substantial injury to Plaintiff and Class Members arising from the Breach. For instance, Class

Members’ accounts have been cancelled, suspended, or otherwise rendered unusable as a result

of the Breach and resulting fraudulent charges. Class Members have also had to pay late fees,

pay to protect their PII and financial accounts, and spend valuable time and effort scrutinizing

their accounts and communicating with their financial institutions to dispute fraudulent

charges.

           68.    The injury caused by Defendant’s actions and omissions was not reasonably

avoidable by Plaintiff and the Class Members.

           69.    The injury caused by Defendant is not outweighed by countervailing benefits to

consumers or competition.

           70.    Defendant’s failures to protect Plaintiff’s and Class Members’ PII constitutes

unfair and unethical practices that offend public policy.



           WHEREFORE, Plaintiff, for himself and Class Members, respectfully requests that (i)

this action be certified as a class action, (ii) Plaintiff be designated the Class Representative, and




                                                 13
         Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 14 of 15



 (iii) Plaintiff’s counsel be appointed as Class Counsel.      Plaintiff, for himself and t h e Class

 Members, further requests that, upon final trial or hearing, judgment be awarded against

 Defendant, in Plaintiff’s and Class Members’ favor, for:

         (i) compensatory and punitive damages in an amount to be determined by the trier of

         fact;

         (ii) declaratory and injunctive relief as the Court deems just and proper;

         (iii) attorneys’ fees, litigation expenses, and costs of suit incurred through the trial

         and any appeals of this case;

         (iv) pre- and post-judgment interest on any amounts awarded; and

         (v) such other and further relief the Court deems just and proper.

                                           JURY DEMAND

         Plaintiff, individually and on behalf of Class Members, respectfully demands a trial by

 jury on all claims and causes of action so triable.



Dated: October 15, 2018                        Respectfully submitted,

                                               SHEPHERD, FINKELMAN, MILLER
                                               & SHAH, LLP

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                                                  14
Case 3:18-cv-01716-KAD Document 1 Filed 10/15/18 Page 15 of 15



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                              15
